               Case 9:20-cr-00032-DWM
Case: 280876, IMEI: 354893094448859, Apple iPhone 8
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3540                iMessage - Sent                                                                                          iMessage
  6

        Description: (No description)
        From: Me <+18123058776>                                                             Time stamp
                                                                                            (Device time        5/7/2015 5:12:06 PM
                                                                                            +00:00):
        To:         <+                   >

        Remote party:              <

        Direction: Outgoing                            Read status: Read                    Deleted: No

        She was sending it to                not

3540                iMessage - Inbox                                                                                         iMessage
  7

        Description: (No description)
        From:            <+                   >                                             Time stamp
                                                                                            (Device time        5/7/2015 5:09:32 PM
                                                                                            +00:00):
        To: Me <+18123058776>

        Remote party:              <+

        Direction: Incoming                            Read status: Read                    Deleted: No

        They told me you have to send it to                     - that's my real name - they blocked it because we always get it
        sent to

3540                iMessage - Sent                                                                                          iMessage
  8

        Description: (No description)
        From: Me <+18123058776>                                                             Time stamp
                                                                                            (Device time        5/7/2015 5:09:04 PM
                                                                                            +00:00):
        To:         <+                   >

        Remote party:              <+

        Direction: Outgoing                            Read status: Read                    Deleted: No

                   is still there trying to send it.




                                                                                                                                      10426
               Case 9:20-cr-00032-DWM
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3541                iMessage - Sent                                                                                       iMessage
  7

        Description: (No description)
        From: Me <+18123058776>                                                           Time stamp
                                                                                          (Device time       5/7/2015 4:54:59 PM
                                                                                          +00:00):
        To:         <+

        Remote party:              <+                 >

        Direction: Outgoing                           Read status: Read                   Deleted: No

        Well shit. I tried to send it to you already and it came up with a fraud alert.

3541                iMessage - Inbox                                                                                      iMessage
  8

        Description: (No description)
        From:                                >                                            Time stamp
                                                                                          (Device time       5/7/2015 4:54:28 PM
                                                                                          +00:00):
        To: Me <+18123058776>

        Remote party:              <+

        Direction: Incoming                           Read status: Read                   Deleted: No

        And if u can send it to                  -




                                                                                                                                   10429
            Case 9:20-cr-00032-DWM              Document 188-22   Filed 02/25/22    Page 3 of 49




3542           iMessage - Inbox                                                                    iMessage
  2

       Description: (No description)
       From:      <+              >                                      Time stamp
                                                                         (Device time   5/7/2015 4:20:09 PM
                                                                         +00:00):
       To: Me <+18123058776>

       Remote party:         <+

       Direction: Incoming                Read status: Read               Deleted: No

       Let me knw as soon as u get the mtcn #




                                                                                                        10430
            Case 9:20-cr-00032-DWM         Document 188-22   Filed 02/25/22    Page 4 of 49




3542           iMessage - Inbox                                                               iMessage
  7

       Description: (No description)
       From:      <+              >                                 Time stamp
                                                                    (Device time   5/7/2015 1:31:22 AM
                                                                    +00:00):
       To: Me <+18123058776>

       Remote party:         <         >

       Direction: Incoming             Read status: Read             Deleted: No

       Awesome



                                                                                                   10431
               Case 9:20-cr-00032-DWM
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3542                iMessage - Inbox                                                                                         iMessage
  8

        Description: (No description)
        From:            <+                                                              Time stamp
                                                                                         (Device time           5/7/2015 1:31:17 AM
                                                                                         +00:00):
        To: Me <+18123058776>

        Remote party:              <+                 >

        Direction: Incoming                           Read status: Read                   Deleted: No

        Tom is my only day off till lock in- Saturday- will be locked for about ten days- btls will
        Be here when I get out-

3542                iMessage - Sent                                                                                          iMessage
  9

        Description: (No description)
        From: Me <+18123058776>                                                          Time stamp
                                                                                         (Device time           5/7/2015 1:29:43 AM
                                                                                         +00:00):
        To:          +                   >

        Remote party:              <+                 >

        Direction: Outgoing                           Read status: Read                   Deleted: No

        Wire

3543                iMessage - Sent                                                                                          iMessage
  0

        Description: (No description)
        From: Me <+18123058776>                                                          Time stamp
                                                                                         (Device time           5/7/2015 1:29:35 AM
                                                                                         +00:00):
        To:         <+

        Remote party:              <+                 >

        Direction: Outgoing                           Read status: Read                   Deleted: No

        I will wife money tomorrow for 1100




                                                                                                                                      10432
               Case 9:20-cr-00032-DWM
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3543                iMessage - Sent                                                                                 iMessage
  1

        Description: (No description)
        From: Me <+18123058776>                                                    Time stamp
                                                                                   (Device time        5/7/2015 1:29:18 AM
                                                                                   +00:00):
        To:         <+                   >

        Remote party:              <                  >

        Direction: Outgoing                           Read status: Read             Deleted: No

        Ok

3543                iMessage - Inbox                                                                                iMessage
  2

        Description: (No description)
        From:            <+18122029045>                                            Time stamp
                                                                                   (Device time        5/7/2015 1:29:08 AM
                                                                                   +00:00):
        To: Me <+18123058776>

        Remote party:              <+                 >

        Direction: Incoming                           Read status: Read             Deleted: No

        200-

3543                iMessage - Sent                                                                                 iMessage
  3

        Description: (No description)
        From: Me <+18123058776>                                                    Time stamp
                                                                                   (Device time        5/7/2015 1:26:26 AM
                                                                                   +00:00):
        To:         <                    >

        Remote party:              <                  >

        Direction: Outgoing                           Read status: Read             Deleted: No

        5 bottles of Var. how much per bottle?




                                                                                                                             10433
               Case 9:20-cr-00032-DWM
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3543                iMessage - Inbox                                                                               iMessage
  5

        Description: (No description)
        From:          <                                                          Time stamp
                                                                                  (Device time        5/7/2015 1:17:09 AM
                                                                                  +00:00):
        To: Me <+18123058776>

        Remote party:               +

        Direction: Incoming                           Read status: Read            Deleted: No

        Ordering tomorrow




                                                                                                                            10434
               Case 9:20-cr-00032-DWM
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3586                iMessage - Sent                                                                                   iMessage
  1

        Description: (No description)
        From: Me <+18123058776>                                                     Time stamp
                                                                                    (Device time       4/26/2015 1:54:04 AM
                                                                                    +00:00):
        To:          +

        Remote party:               +

        Direction: Outgoing                           Read status: Read               Deleted: No

        That is crazy! I didn't realize you took a new job.

3586                iMessage - Inbox                                                                                  iMessage
  2

        Description: (No description)
        From:            <+                  >                                      Time stamp
                                                                                    (Device time       4/26/2015 1:51:37 AM
                                                                                    +00:00):
        To: Me <+18123058776>

        Remote party:              <+                 >

        Direction: Incoming                           Read status: Read               Deleted: No

         All depends on when they ratify- pretty crazy shit- i took a job at century aluminum in hawesville a couple weeks
        ago and it's contract time and it's gettin ugly

3586                iMessage - Sent                                                                                   iMessage
  3

        Description: (No description)
        From: Me <+18123058776>                                                     Time stamp
                                                                                    (Device time       4/26/2015 1:50:05 AM
                                                                                    +00:00):
        To:         <+

        Remote party:              <

        Direction: Outgoing                           Read status: Read               Deleted: No

        Holy shit!!! A couple of months?




                                                                                                                               10560
            Case 9:20-cr-00032-DWM                Document 188-22           Filed 02/25/22        Page 9 of 49




3586            iMessage - Inbox                                                                                   iMessage
  5

       Description: (No description)
       From:       <                                                               Time stamp
                                                                                   (Device time       4/25/2015 11:54:57 PM
                                                                                   +00:00):
       To: Me <+18123058776>

       Remote party:         +               >

       Direction: Incoming                    Read status: Read                        Deleted: No

       I might be getting locked in at work over a contract dispute with union until contract is ratified. That will happen a
       week from Thursday. If u need anything get me money by Friday and I can have my supplier mail it to you when it
       arrives- could be locked in a couple months-




                                                                                                                          10561
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3591                iMessage - Sent                                                                                    iMessage
  1

        Description: (No description)
        From: Me <+18123058776>                                                     Time stamp
                                                                                    (Device time        4/22/2015 2:11:40 AM
                                                                                    +00:00):
        To:         <+

        Remote party:               +

        Direction: Outgoing                           Read status: Read               Deleted: No

        Ok. Thanks brother.

3591                iMessage - Inbox                                                                                   iMessage
  2

        Description: (No description)
        From             +                                                          Time stamp
                                                                                    (Device time        4/22/2015 1:39:58 AM
                                                                                    +00:00):
        To: Me <+18123058776>

        Remote party:              <+

        Direction: Incoming                           Read status: Read               Deleted: No

        Let me know if u Wna order that var for u guys and anything else- i put in order bout every couple weeks- prolly will
        next week

3591                iMessage - Inbox                                                                                   iMessage
  3

        Description: (No description)
        From:            <+                                                         Time stamp
                                                                                    (Device time        4/22/2015 1:19:31 AM
                                                                                    +00:00):
        To: Me <+18123058776>

        Remote party:              <+                 >

        Direction: Incoming                           Read status: Read               Deleted: No

        A lot bro




                                                                                                                                10575
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3591                iMessage - Inbox                                                                                 iMessage
  4

        Description: (No description)
        From:            <                                                         Time stamp
                                                                                   (Device time       4/22/2015 1:19:25 AM
                                                                                   +00:00):
        To: Me <+18123058776>

        Remote party:

        Direction: Incoming                           Read status: Read              Deleted: No

        Ya it's pretty good stuff- I like it a lot nor

3591                iMessage - Sent                                                                                  iMessage
  5

        Description: (No description)
        From: Me <+18123058776>                                                    Time stamp
                                                                                   (Device time       4/22/2015 1:16:19 AM
                                                                                   +00:00):
        To:         <+                   >

        Remote party:              <+                 >

        Direction: Outgoing                           Read status: Read              Deleted: No

        Got the stuff. Looks pretty damn legit. Never seen stuff packaged like that except pharm grade.




                                                                                                                              10576
             Case 9:20-cr-00032-DWM              Document 188-22   Filed 02/25/22   Page 12 of 49




3603            iMessage - Sent                                                                   iMessage
  0

       Description: (No description)
       From: Me <+18123058776>                                            Time stamp
                                                                          (Device time   4/16/2015 9:22:37 PM
                                                                          +00:00):
       To:      <+

       Remote party:         +

       Direction: Outgoing                   Read status: Read             Deleted: No

       Awesome.

3603            iMessage - Inbox                                                                  iMessage
  1

       Description: (No description)
       From:         <+             >                                     Time stamp
                                                                          (Device time   4/16/2015 8:52:10 PM
                                                                          +00:00):
       To: Me <+18123058776>

       Remote party:         <+              >

       Direction: Incoming                   Read status: Read             Deleted: No

       Ya I can get it whenever. Jus have to order it.



                                                                                                         10610
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3603                iMessage - Sent                                                                                      iMessage
  2

        Description: (No description)
        From: Me <+18123058776>                                                       Time stamp
                                                                                      (Device time        4/16/2015 8:45:36 PM
                                                                                      +00:00):
        To:         <+

        Remote party:              <+                 >

        Direction: Outgoing                           Read status: Read                 Deleted: No

        Heather did a light cycle of it and holy shit she's jacked. Is there anymore of that available?

3603                iMessage - Inbox                                                                                     iMessage
  3

        Description: (No description)
        From:            <+                  >                                        Time stamp
                                                                                      (Device time        4/16/2015 8:44:14 PM
                                                                                      +00:00):
        To: Me <+18123058776>

        Remote party:              <                  >

        Direction: Incoming                           Read status: Read                 Deleted: No

        Sweet!! I like it too- makes u gain mean mass

3603                iMessage - Sent                                                                                      iMessage
  4

        Description: (No description)
        From: Me <+18123058776>                                                       Time stamp
                                                                                      (Device time        4/16/2015 8:43:47 PM
                                                                                      +00:00):
        To:          +

        Remote party:              <+

        Direction: Outgoing                           Read status: Read                 Deleted: No

        Thanks bro. By the way, that Anavar rocked.

3603                iMessage - Inbox                                                                                     iMessage
  5

        Description: (No description)
        From:            +                                                            Time stamp
                                                                                      (Device time        4/16/2015 8:42:49 PM
                                                                                      +00:00):
        To: Me <+18123058776>

        Remote party:              <+

        Direction: Incoming                           Read status: Read                 Deleted: No

        Just mailed- expected delivery is Monday.



                                                                                                                                   10611
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3619                iMessage - Sent                                                                               iMessage
  2

        Description: (No description)
        From: Me <+18123058776>                                                 Time stamp
                                                                                (Device time      4/10/2015 10:20:09 PM
                                                                                +00:00):
        To:         <+

        Remote party:              <+

        Direction: Outgoing                           Read status: Read           Deleted: No

        Rgr

3619                iMessage - Inbox                                                                              iMessage
  3

        Description: (No description)
        From:            <                                                      Time stamp
                                                                                (Device time      4/10/2015 10:19:53 PM
                                                                                +00:00):
        To: Me <+18123058776>

        Remote party:              <+

        Direction: Incoming                           Read status: Read           Deleted: No

        Got bottles today- will send by Monday




                                                                                                                           10659
             Case 9:20-cr-00032-DWM      Document 188-22   Filed 02/25/22   Page 15 of 49




3688              iMessage - Sent                                                         iMessage
  2

       Description: (No description)
       From: Me <+18123058776>                                    Time stamp
                                                                  (Device time   3/17/2015 8:08:39 PM
                                                                  +00:00):
       To:        <+

       Remote party:         <+

       Direction: Outgoing             Read status: Read           Deleted: No

       Perfect.




                                                                                                 10862
              Case 9:20-cr-00032-DWM
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3688                iMessage - Inbox                                                                              iMessage
  3

        Description: (No description)
        From:          <                                                         Time stamp
                                                                                 (Device time      3/17/2015 8:08:26 PM
                                                                                 +00:00):
        To: Me <+18123058776>

        Remote party:              <

        Direction: Incoming                           Read status: Read           Deleted: No

        Got it




                                                                                                                           10863
             Case 9:20-cr-00032-DWM           Document 188-22   Filed 02/25/22   Page 17 of 49




3690            iMessage - Inbox                                                               iMessage
  5

       Description: (No description)
       From:        <                 >                                Time stamp
                                                                       (Device time   3/17/2015 1:39:09 AM
                                                                       +00:00):
       To: Me <+18123058776>

       Remote party:         <+           >

       Direction: Incoming                Read status: Read             Deleted: No

       Cool.

3690            iMessage - Sent                                                                iMessage
  6

       Description: (No description)
       From: Me <+18123058776>                                         Time stamp
                                                                       (Device time   3/17/2015 1:03:04 AM
                                                                       +00:00):
       To:     <+                 >

       Remote party:         <+

       Direction: Outgoing                Read status: Read             Deleted: No

       Me.



                                                                                                      10868
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3690                iMessage - Inbox                                                                                iMessage
  7

        Description: (No description)
        From:            <+                                                       Time stamp
                                                                                  (Device time      3/17/2015 12:44:17 AM
                                                                                  +00:00):
        To: Me <+18123058776>

        Remote party:              <+

        Direction: Incoming                           Read status: Read             Deleted: No

        Cool will get tomorrow. From u or                 ?




3690                iMessage - Sent                                                                                 iMessage
  9

        Description: (No description)
        From: Me <+18123058776>                                                   Time stamp
                                                                                  (Device time      3/17/2015 12:41:03 AM
                                                                                  +00:00):
        To:          +                   >

        Remote party:              <+                 >

        Direction: Outgoing                           Read status: Read             Deleted: No

        5913857655




                                                                                                                             10869
             Case 9:20-cr-00032-DWM             Document 188-22   Filed 02/25/22   Page 19 of 49




3691            iMessage - Inbox                                                                 iMessage
  4

       Description: (No description)
       From:         <+                                                  Time stamp
                                                                         (Device time   3/16/2015 6:31:28 PM
                                                                         +00:00):
       To: Me <+18123058776>

       Remote party:         <

       Direction: Incoming                   Read status: Read            Deleted: No

       Ok cool. Jus txt me the mtcn when it's sent.

3691            iMessage - Sent                                                                  iMessage
  5

       Description: (No description)
       From: Me <+18123058776>                                           Time stamp
                                                                         (Device time   3/16/2015 6:30:54 PM
                                                                         +00:00):
       To:      <+               >

       Remote party:         +

       Direction: Outgoing                   Read status: Read            Deleted: No

       Just the E




                                                                                                        10871
             Case 9:20-cr-00032-DWM                    Document 188-22         Filed 02/25/22   Page 20 of 49




3691             iMessage - Inbox                                                                             iMessage
  7

       Description: (No description)
       From:          <+                                                              Time stamp
                                                                                      (Device time   3/16/2015 7:32:16 AM
                                                                                      +00:00):
       To: Me <+18123058776>

       Remote party:          <+

       Direction: Incoming                         Read status: Read                   Deleted: No

       Cool. U want the new t4 blend or just enathate?

3691             iMessage - Sent                                                                              iMessage
  8

       Description: (No description)
       From: Me <+18123058776>                                                        Time stamp
                                                                                      (Device time   3/16/2015 3:41:50 AM
                                                                                      +00:00):
       To:       <+

       Remote party:          <                    >

       Direction: Outgoing                         Read status: Read                   Deleted: No

       I will take 10 bottles of test. Will have       send the $$$ out tomorrow.




                                                                                                                     10872
           Case 9:20-cr-00032-DWM            Document 188-22   Filed 02/25/22   Page 21 of 49




3695           iMessage - Inbox                                                               iMessage
  7

       Description: (No description)
       From:      <+              >                                   Time stamp
                                                                      (Device time   3/13/2015 7:33:12 PM
                                                                      +00:00):
       To: Me <+18123058776>

       Remote party:         <+

       Direction: Incoming                 Read status: Read           Deleted: No

       Srry not Monday, I meant Tuesday.



                                                                                                     10885
           Case 9:20-cr-00032-DWM               Document 188-22           Filed 02/25/22      Page 22 of 49




3696            iMessage - Inbox                                                                            iMessage
  0

       Description: (No description)
       From:        +                                                              Time stamp
                                                                                   (Device time    3/13/2015 3:10:10 PM
                                                                                   +00:00):
       To: Me <+18123058776>

       Remote party:         <+

       Direction: Incoming                   Read status: Read                       Deleted: No

       Just talked to my guy and we r gna try to order Monday if u still need anything.




                                                                                                                   10886
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3713                iMessage - Inbox                                                                                iMessage
  6

        Description: (No description)
        From:          <+                    >                                     Time stamp
                                                                                   (Device time      3/11/2015 1:55:12 AM
                                                                                   +00:00):
        To: Me <+18123058776>

        Remote party:              <+                 >

        Direction: Incoming                           Read status: Read             Deleted: No

        200 for all orals. 50 count 50 mg pills




                                                                                                                             10940
             Case 9:20-cr-00032-DWM        Document 188-22   Filed 02/25/22   Page 24 of 49




3722              iMessage - Sent                                                           iMessage
  8

       Description: (No description)
       From: Me <+18123058776>                                      Time stamp
                                                                    (Device time   3/10/2015 3:01:40 PM
                                                                    +00:00):
       To:        <+

       Remote party:         <         >

       Direction: Outgoing             Read status: Read             Deleted: No

       Perfect.




                                                                                                   10968
            Case 9:20-cr-00032-DWM                Document 188-22   Filed 02/25/22   Page 25 of 49




3723             iMessage - Inbox                                                                  iMessage
  1

       Description: (No description)
       From:        <                                                      Time stamp
                                                                           (Device time   3/10/2015 2:57:57 PM
                                                                           +00:00):
       To: Me <+18123058776>

       Remote party:

       Direction: Incoming                      Read status: Read           Deleted: No

       I'll send u a list after this meeting.




                                                                                                          10969
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3723                iMessage - Sent                                                                                       iMessage
  2

        Description: (No description)
        From: Me <+18123058776>                                                        Time stamp
                                                                                       (Device time        3/10/2015 2:56:26 PM
                                                                                       +00:00):
        To:         <+

        Remote party:              <+

        Direction: Outgoing                           Read status: Read                  Deleted: No

        How much per bottle and I will send the cash asap and you can order when you can.

3723                iMessage - Inbox                                                                                      iMessage
  3

        Description: (No description)
        From:            <+                                                            Time stamp
                                                                                       (Device time        3/10/2015 2:55:42 PM
                                                                                       +00:00):
        To: Me <+18123058776>

        Remote party:               +

        Direction: Incoming                           Read status: Read                  Deleted: No

        Cool. It takes me two weeks to order now. After I get cash i order. But it's definitely worth the wait.




                                                                                                                                   10970
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3723                iMessage - Sent                                                                                   iMessage
  9

        Description: (No description)
        From: Me <+18123058776>                                                    Time stamp
                                                                                   (Device time        3/10/2015 2:44:00 PM
                                                                                   +00:00):
        To:          +

        Remote party:              <+

        Direction: Outgoing                           Read status: Read              Deleted: No

        Fuck, I'm definitely in. Let me know when you can get some and I will put in a god sized order.

3724                iMessage - Inbox                                                                                  iMessage
  0

        Description: (No description)
        From:            <                                                         Time stamp
                                                                                   (Device time        3/10/2015 2:42:59 PM
                                                                                   +00:00):
        To: Me <+18123058776>

        Remote party:              <+

        Direction: Incoming                           Read status: Read              Deleted: No

        I gained ten pounds

3724                iMessage - Inbox                                                                                  iMessage
  1

        Description: (No description)
        From:            <+                                                        Time stamp
                                                                                   (Device time        3/10/2015 2:42:49 PM
                                                                                   +00:00):
        To: Me <+18123058776>

        Remote party:               +                 >

        Direction: Incoming                           Read status: Read              Deleted: No

        Ya. My levels were low too. This new stuff comes in a sealed small box




                                                                                                                               10972
              Case 9:20-cr-00032-DWM
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3724                iMessage - Sent                                                                                       iMessage
  3

        Description: (No description)
        From: Me <+18123058776>                                                        Time stamp
                                                                                       (Device time        3/10/2015 2:41:43 PM
                                                                                       +00:00):
        To:         <+                   >

        Remote party:               +                 >

        Direction: Outgoing                           Read status: Read                  Deleted: No

        I was just getting zits. Pretty sure it had little to no test in it. I had my blood work done and my shit was super duper
        low.

3724                iMessage - Inbox                                                                                      iMessage
  4

        Description: (No description)
        From:            <+                                                            Time stamp
                                                                                       (Device time        3/10/2015 2:40:53 PM
                                                                                       +00:00):
        To: Me <+18123058776>

        Remote party:              <+

        Direction: Incoming                           Read status: Read                  Deleted: No

        I was getting no gains.

3724                iMessage - Inbox                                                                                      iMessage
  5

        Description: (No description)
        From:            <+                                                            Time stamp
                                                                                       (Device time        3/10/2015 2:40:44 PM
                                                                                       +00:00):
        To: Me <+18123058776>

        Remote party:              <+                 >

        Direction: Incoming                           Read status: Read                  Deleted: No

        Ya I quit taking that Sylver stuff.




                                                                                                                                   10973
              Case 9:20-cr-00032-DWM
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3724                iMessage - Sent                                                                                        iMessage
  6

        Description: (No description)
        From: Me <+18123058776>                                                           Time stamp
                                                                                          (Device time      3/10/2015 2:40:21 PM
                                                                                          +00:00):
        To:         <

        Remote party:              <

        Direction: Outgoing                           Read status: Read                    Deleted: No

        I wanna try it. The old stuff was pretty weak. Especially the last batch I got.




                                                                                                                                    10974
           Case 9:20-cr-00032-DWM             Document 188-22         Filed 02/25/22   Page 30 of 49




3725           iMessage - Inbox                                                                      iMessage
  2

       Description: (No description)
       From:      <                                                          Time stamp
                                                                             (Device time   3/10/2015 2:28:16 PM
                                                                             +00:00):
       To: Me <+18123058776>

       Remote party:         <            >

       Direction: Incoming                 Read status: Read                  Deleted: No

       No worries. When we u r rede lemme kne. The new stuff is rele good

3725           iMessage - Inbox                                                                      iMessage
  3

       Description: (No description)
       From:      <+                                                         Time stamp
                                                                             (Device time   3/10/2015 2:28:16 PM
                                                                             +00:00):
       To: Me <+18123058776>

       Remote party:          +

       Direction: Incoming                 Read status: Read                  Deleted: No

       Ordering again soon.




                                                                                                            10976
             Case 9:20-cr-00032-DWM      Document 188-22   Filed 02/25/22   Page 31 of 49




3726            iMessage - Sent                                                           iMessage
  7

       Description: (No description)
       From: Me <+18123058776>                                    Time stamp
                                                                  (Device time   3/10/2015 1:54:01 PM
                                                                  +00:00):
       To:       +

       Remote party:         <+

       Direction: Outgoing             Read status: Read           Deleted: No

       Damn, just saw this text.




                                                                                                 10980
           Case 9:20-cr-00032-DWM              Document 188-22      Filed 02/25/22       Page 32 of 49




3824            iMessage - Inbox                                                                      iMessage
  9

       Description: (No description)
       From:      <                                                       Time stamp
                                                                          (Device time      2/20/2015 10:47:28 PM
                                                                          +00:00):
       To: Me <+18123058776>

       Remote party:         <

       Direction: Incoming                  Read status: Read               Deleted: No

       Puttin big order on nex Friday. All new gear. Diff company




                                                                                                             11274
           Case 9:20-cr-00032-DWM           Document 188-22   Filed 02/25/22       Page 33 of 49




3941           iMessage - Inbox                                                                 iMessage
  0

       Description: (No description)
       From:      <                                                 Time stamp
                                                                    (Device time      1/16/2015 11:16:59 PM
                                                                    +00:00):
       To: Me <+18123058776>

       Remote party:         <+

       Direction: Incoming                Read status: Read           Deleted: No

       Ordering soon if u need anything




                                                                                                       11619
              Case 9:20-cr-00032-DWM
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4145                iMessage - Inbox                                                                              iMessage
  1

        Description: (No description)
        From:            +                                                      Time stamp
                                                                                (Device time      11/25/2014 8:20:16 PM
                                                                                +00:00):
        To: Me <+18123058776>

        Remote party:               +

        Direction: Incoming                           Read status: Read           Deleted: No

        Cool.

4145                iMessage - Sent                                                                               iMessage
  2

        Description: (No description)
        From: Me <+18123058776>                                                 Time stamp
                                                                                (Device time      11/25/2014 8:20:09 PM
                                                                                +00:00):
        To:         <+

        Remote party:              <+

        Direction: Outgoing                           Read status: Read           Deleted: No

        Got it bro thanks.

4145                iMessage - Inbox                                                                              iMessage
  3

        Description: (No description)
        From:            <+                                                     Time stamp
                                                                                (Device time      11/25/2014 8:05:12 PM
                                                                                +00:00):
        To: Me <+18123058776>

        Remote party:              <+

        Direction: Incoming                           Read status: Read           Deleted: No

        Anything?




                                                                                                                           12232
              Case 9:20-cr-00032-DWM
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4146                iMessage - Inbox                                                                              iMessage
  4

        Description: (No description)
        From:            +                                                      Time stamp
                                                                                (Device time      11/24/2014 8:55:48 PM
                                                                                +00:00):
        To: Me <+18123058776>

        Remote party:              <

        Direction: Incoming                           Read status: Read           Deleted: No

        Let me know if it IS. Expected delivery was today

4146                iMessage - Sent                                                                               iMessage
  5

        Description: (No description)
        From: Me <+18123058776>                                                 Time stamp
                                                                                (Device time      11/24/2014 8:55:22 PM
                                                                                +00:00):
        To:         <+

        Remote party:              <+

        Direction: Outgoing                           Read status: Read           Deleted: No

        Perfect.

4146                iMessage - Inbox                                                                              iMessage
  6

        Description: (No description)
        From:            <+                  >                                  Time stamp
                                                                                (Device time      11/24/2014 8:55:08 PM
                                                                                +00:00):
        To: Me <+18123058776>

        Remote party:              <+

        Direction: Incoming                           Read status: Read           Deleted: No

        Should be delivered today




                                                                                                                           12236
              Case 9:20-cr-00032-DWM
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4162                iMessage - Sent                                                                                     iMessage
  3

        Description: (No description)
        From: Me <+18123058776>                                                   Time stamp
                                                                                  (Device time        11/19/2014 11:09:03 PM
                                                                                  +00:00):
        To:          +

        Remote party:               +

        Direction: Outgoing                           Read status: Read                Deleted: No

        No worries brother.

4162                iMessage - Inbox                                                                                    iMessage
  4

        Description: (No description)
        From:            <+                                                       Time stamp
                                                                                  (Device time        11/19/2014 11:02:01 PM
                                                                                  +00:00):
        To: Me <+18123058776>

        Remote party:              <+

        Direction: Incoming                           Read status: Read                Deleted: No

        Things have been hectic with her having surgery las week. I'm sorry I'll make sure they get in mail sometime
        tomorrow

4162                iMessage - Inbox                                                                                    iMessage
  5

        Description: (No description)
        From:                                                                     Time stamp
                                                                                  (Device time        11/19/2014 10:57:48 PM
                                                                                  +00:00):
        To: Me <+18123058776>

        Remote party:               +

        Direction: Incoming                           Read status: Read                Deleted: No

        It's going in mail tom. Should be at ur house by Saturday. I haven't gotten off work before the post office has
        closed this week.       is gna send it tom.




                                                                                                                                 12284
              Case 9:20-cr-00032-DWM
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4162                iMessage - Sent                                                                                    iMessage
  6

        Description: (No description)
        From: Me <+18123058776>                                                  Time stamp
                                                                                 (Device time        11/19/2014 10:50:26 PM
                                                                                 +00:00):
        To:         <+

        Remote party:              <                  >

        Direction: Outgoing                           Read status: Read              Deleted: No

        Any word on the vitamins?




                                                                                                                                12285
             Case 9:20-cr-00032-DWM      Document 188-22   Filed 02/25/22       Page 38 of 49




4180            iMessage - Sent                                                              iMessage
  7

       Description: (No description)
       From: Me <+18123058776>                                   Time stamp
                                                                 (Device time      11/11/2014 8:12:44 PM
                                                                 +00:00):
       To:     <+

       Remote party:         <+

       Direction: Outgoing             Read status: Read           Deleted: No

       Sounds good.



                                                                                                    12336
              Case 9:20-cr-00032-DWM
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4180                iMessage - Inbox                                                                                 iMessage
  8

        Description: (No description)
        From:          <                                                          Time stamp
                                                                                  (Device time      11/11/2014 8:07:01 PM
                                                                                  +00:00):
        To: Me <+18123058776>

        Remote party:              <+

        Direction: Incoming                           Read status: Read              Deleted: No

        Bottles are here. Kma try to get them mailed kne day this week when I can get to post office




                                                                                                                              12337
             Case 9:20-cr-00032-DWM      Document 188-22   Filed 02/25/22      Page 40 of 49




4211              iMessage - Sent                                                            iMessage
 9

       Description: (No description)
       From: Me <+18123058776>                                  Time stamp
                                                                (Device time      10/28/2014 10:55:47 PM
                                                                +00:00):
       To:        <+

       Remote party:         +

       Direction: Outgoing             Read status: Read            Deleted: No

       Yes sir.



                                                                                                    12426
              Case 9:20-cr-00032-DWM
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4212                iMessage - Inbox                                                                                 iMessage
  0

        Description: (No description)
        From:            +                   >                                 Time stamp
                                                                               (Device time        10/28/2014 10:52:41 PM
                                                                               +00:00):
        To: Me <+18123058776>

        Remote party:              <+

        Direction: Incoming                           Read status: Read            Deleted: No

        Cool thanks




                                                                                                                              12427
              Case 9:20-cr-00032-DWM
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4212                iMessage - Sent                                                                                    iMessage
  3

        Description: (No description)
        From: Me <+18123058776>                                                  Time stamp
                                                                                 (Device time        10/28/2014 10:19:44 PM
                                                                                 +00:00):
        To:          +

        Remote party:              <+                 >

        Direction: Outgoing                           Read status: Read              Deleted: No


        Whitefish, MT 59937

4212                iMessage - Inbox                                                                                   iMessage
  4

        Description: (No description)
        From:            <+                                                       Time stamp
                                                                                  (Device time        10/28/2014 8:26:40 PM
                                                                                  +00:00):
        To: Me <+18123058776>

        Remote party:              <+

        Direction: Incoming                           Read status: Read              Deleted: No

        What's ur address again




                                                                                                                                12428
             Case 9:20-cr-00032-DWM      Document 188-22   Filed 02/25/22       Page 43 of 49




4213            iMessage - Inbox                                                             iMessage
  8

       Description: (No description)
       From:        <+                                           Time stamp
                                                                 (Device time      10/28/2014 2:22:56 AM
                                                                 +00:00):
       To: Me <+18123058776>

       Remote party:         <+

       Direction: Incoming             Read status: Read           Deleted: No

       No prob bro

4213            iMessage - Sent                                                              iMessage
  9

       Description: (No description)
       From: Me <+18123058776>                                   Time stamp
                                                                 (Device time      10/28/2014 2:20:57 AM
                                                                 +00:00):
       To:     <+                 >

       Remote party:         +

       Direction: Outgoing             Read status: Read           Deleted: No

       Thanks brother.




                                                                                                    12432
              Case 9:20-cr-00032-DWM
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4214                iMessage - Inbox                                                                              iMessage
  0

        Description: (No description)
        From:            <                                                      Time stamp
                                                                                (Device time      10/28/2014 2:20:31 AM
                                                                                +00:00):
        To: Me <+18123058776>

        Remote party:              <+

        Direction: Incoming                           Read status: Read           Deleted: No

        Cool sounds good bro

4214                iMessage - Sent                                                                               iMessage
  1

        Description: (No description)
        From: Me <+18123058776>                                                 Time stamp
                                                                                (Device time      10/28/2014 2:20:09 AM
                                                                                +00:00):
        To:         <+

        Remote party:               +

        Direction: Outgoing                           Read status: Read           Deleted: No

        Yes sir.

4214                iMessage - Inbox                                                                              iMessage
  2

        Description: (No description)
        From:            +                                                      Time stamp
                                                                                (Device time      10/28/2014 2:13:40 AM
                                                                                +00:00):
        To: Me <+18123058776>

        Remote party:               +

        Direction: Incoming                           Read status: Read           Deleted: No

        Cool. Cyp?




                                                                                                                           12433
              Case 9:20-cr-00032-DWM
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4214                iMessage - Sent                                                                               iMessage
  3

        Description: (No description)
        From: Me <+18123058776>                                                 Time stamp
                                                                                (Device time      10/28/2014 2:12:59 AM
                                                                                +00:00):
        To:         <+

        Remote party:               +

        Direction: Outgoing                           Read status: Read           Deleted: No

        800 bucks just sent for 10 bottles of Test.
        MCTN: 0729140120




                                                                                                                           12434
             Case 9:20-cr-00032-DWM             Document 188-22           Filed 02/25/22         Page 46 of 49




4215            iMessage - Sent                                                                                 iMessage
  6

       Description: (No description)
       From: Me <+18123058776>                                                    Time stamp
                                                                                  (Device time        10/27/2014 7:23:53 PM
                                                                                  +00:00):
       To:       +

       Remote party:         <+

       Direction: Outgoing                   Read status: Read                          Deleted: No

       Ok

4215            iMessage - Inbox                                                                                iMessage
  7

       Description: (No description)
       From:                                                                      Time stamp
                                                                                  (Device time        10/27/2014 7:23:30 PM
                                                                                  +00:00):
       To: Me <+18123058776>

       Remote party:         <+

       Direction: Incoming                   Read status: Read                          Deleted: No

       No ur good, u can still send it let me know when to pik it up and what mtcn is

4215            iMessage - Sent                                                                                 iMessage
  8

       Description: (No description)
       From: Me <+18123058776>                                                    Time stamp
                                                                                  (Device time        10/27/2014 7:22:24 PM
                                                                                  +00:00):
       To:       +

       Remote party:         <+

       Direction: Outgoing                   Read status: Read                          Deleted: No

       Is it too late to send money for an order?



                                                                                                                       12438
             Case 9:20-cr-00032-DWM              Document 188-22           Filed 02/25/22       Page 47 of 49




4226            iMessage - Inbox                                                                               iMessage
  5

       Description: (No description)
       From:         <+                                                          Time stamp
                                                                                 (Device time       10/22/2014 11:51:28 PM
                                                                                 +00:00):
       To: Me <+18123058776>

       Remote party:         +               >

       Direction: Incoming                   Read status: Read                        Deleted: No

       Cool. Try to get me order and $ by Monday an I will get it all on next order




4226            iMessage - Sent                                                                                iMessage
  7

       Description: (No description)
       From: Me <+18123058776>                                                   Time stamp
                                                                                 (Device time       10/22/2014 11:50:27 PM
                                                                                 +00:00):
       To:      <+

       Remote party:         <

       Direction: Outgoing                   Read status: Read                        Deleted: No

       Mostly Test.



                                                                                                                      12469
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4226                iMessage - Inbox                                                                                 iMessage
  8

        Description: (No description)
        From:          <                                                       Time stamp
                                                                               (Device time        10/22/2014 11:24:38 PM
                                                                               +00:00):
        To: Me <+18123058776>

        Remote party:              <

        Direction: Incoming                           Read status: Read            Deleted: No

        Cool. What all u needing




4227                iMessage - Sent                                                                                  iMessage
  1

        Description: (No description)
        From: Me <+18123058776>                                                Time stamp
                                                                               (Device time        10/22/2014 11:16:54 PM
                                                                               +00:00):
        To:

        Remote party:              <+

        Direction: Outgoing                           Read status: Read            Deleted: No

        Yes sir. I do need some stuff.



                                                                                                                              12470
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4227                iMessage - Inbox                                                                                 iMessage
  2

        Description: (No description)
        From:            +                   >                                 Time stamp
                                                                               (Device time        10/22/2014 10:41:04 PM
                                                                               +00:00):
        To: Me <+18123058776>

        Remote party:              <+

        Direction: Incoming                           Read status: Read            Deleted: No

        Ordering soon if u need anything.




                                                                                                                              12471
